          Case 21-41336-bem                      Doc 1      Filed 11/01/21 Entered 11/01/21 20:49:52                              Desc Main
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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
 NORTHERN
 ____________________              GEORGIA
                      District of _________________
                                       (State)
                                                            11
 Case number (If known): _________________________ Chapter _____                                                                             Check if this is an
                                                                                                                                             amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                           ASTA HOLDINGS, LLC
                                           ______________________________________________________________________________________________________




2.   All other names debtor used            Springhouse at Cartersville
                                           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer              83            1040230
                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            20 Tellus Dr.
                                           ______________________________________________               13421  Parker Commons Blvd, Suite 102
                                                                                                        _______________________________________________
                                           Number     Street                                            Number      Street

                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                            Cartersville                Ga       30184
                                           ______________________________________________                Fort Myers, FL 33912
                                                                                                        _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            Bartow
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                www.springhouseliving.com
                                           ____________________________________________________________________________________________________


                                           X     Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
6.   Type of debtor
                                                 Partnership (excluding LLP)
                                                 Other. Specify: __________________________________________________________________



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Debtor
                 Asta Holdings, LLC
                _______________________________________________________                        Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         x None of the above


                                         B. Check all that apply:

                                             Tax-exempt entity (as described in 26 U.S.C. § 501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                             Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             6233
                                             ___ ___ ___ ___

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                         Chapter 7
                                             Chapter 9
                                         X   Chapter 11. Check all that apply:
                                                             Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,490,925 (amount subject to adjustment on
                                                             4/01/16 and every 3 years after that).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                             Chapter 12

9.    Were prior bankruptcy cases        X   No
      filed by or against the debtor
      within the last 8 years?               Yes. District _______________________ When _______________ Case number _________________________
                                                                                              MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases           X   No
      pending or being filed by a
      business partner or an                 Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


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                Asta Holdings, LLC
Debtor         _______________________________________________________                        Case number (if known)_____________________________________
               Name




11.   Why is the case filed in this     Check all that apply:
      district?
                                        X   Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                            A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12.   Does the debtor own or have X No
      possession of any real        Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate               Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                      Other _______________________________________________________________________________



                                                 Where is the property?_____________________________________________________________________
                                                                              Number        Street

                                                                              ____________________________________________________________________

                                                                              _______________________________________       _______      ________________
                                                                              City                                          State        ZIP Code


                                                 Is the property insured?
                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                           Contact name       ____________________________________________________________________

                                                           Phone              ________________________________




             Statistical and administrative information



13.   Debtor’s estimation of            Check one:
      available funds                   X   Funds will be available for distribution to unsecured creditors.
                                            After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                        X   1-49                              1,000-5,000                               25,001-50,000
14.   Estimated number of                   50-99                             5,001-10,000                              50,001-100,000
      creditors
                                            100-199                           10,001-25,000                             More than 100,000
                                            200-999

                                            $0-$50,000                        $1,000,001-$10 million                    $500,000,001-$1 billion
15.   Estimated assets                      $50,001-$100,000              X   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                 $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million               $100,000,001-$500 million                 More than $50 billion




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Debtor         _______________________________________________________                        Case number (if known)_____________________________________
               Name



                                           $0-$50,000                          $1,000,001-$10 million                    $500,000,001-$1 billion
16.   Estimated liabilities                $50,001-$100,000                X   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                           $100,001-$500,000                   $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                           $500,001-$1 million                 $100,000,001-$500 million                 More than $50 billion



             Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                            petition.
      debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                            correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.

                                                        11/01/2021
                                           Executed on _________________
                                                       MM / DD / YYYY


                                            _____________________________________________             Bhavik Patel
                                                                                                      _______________________________________________
                                           Signature of authorized representative of debtor           Printed name

                                                   Manager
                                           Title _________________________________________




18.   Signature of attorney                   /S/ JOHN A. CHRISTY
                                            _____________________________________________             Date          11/1/2021
                                                                                                                    _________________
                                            Signature of attorney for debtor                                        MM   / DD / YYYY



                                           John   A. Christy
                                           _________________________________________________________________________________________________
                                           Printed name
                                            Schreeder, Wheeler & Flint, LLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                           1100  Peachtree Street,           Suite 800
                                           _________________________________________________________________________________________________
                                           Number     Street
                                              Atlanta
                                           ____________________________________________________                Ga
                                                                                                           ____________
                                                                                                                          30309
                                                                                                                        ______________________________
                                           City                                                            State        ZIP Code

                                            404-681-3450
                                           ____________________________________
                                                                                                             jchristy@swfllp.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address


                                            125518                                                    Ga
                                           ______________________________________________________ ____________
                                           Bar number                                             State




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Elite SNP
1745 Sugarloaf Club Dr
Duluth, GA 30097

MPC Cartersville LLC
5485 Mirror Lake Drive
Cumming, GA 30028

Shree Hari LLC
1745 Silvermere Ct
Duluth, GA 30097

VJSR, LLC
3501 Bessie Coleman Blvd
Tampa, FL 33609

Shailesh Patel
2326 Hrevester Ave
Fort Mill, SC 29708

Om RSM
114 Winningham Road
Saint George, SC 29477

Ascent Inc
1553 Southgate Rd
Bartlett,IL 60103

Bartow County Tax Commissioner
135 W Cherokee Ave, Ste 217A
Cartersville, GA 30120

Team Contractors
4072 US Highway 62
Calvert City, KY 42029

Chastain Plumbing Heating and Cooling, LLC
800 Burnt Hickory Rd SW, Ste D
Cartersville, GA 30120

Performance Foodservice
3501 Old Oakwood Rd
Oakwood, GA 30566

D and B Restoration
P.O. Box 1237
Cartersville, GA 30120

Dickson Wright PLLC
350 Est Las Olas Blvd. Suite 1750
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Ft Lauderdale, FL 33301

Staples
500 Staples Dr.
Framingham, MA 01702

Elite Lifts
5752 Taggart Dr
Hixson, TN 37343

Kitchens Kelley Gaynes P.C.
5555 Glenridge Connector
Atlanta, GA 30342

Berkley Human Services
222 South Ninth Street, Suite 2700
Minneapolis, MN 55402

Acme American
319 Atlanta St SE Suite 240
Marietta, GA 30060

Fire Door Solutions
7500 W 160th St
Stillwell, KS 66085

Chivas Electric Group LLC
2866 Swarthmore Dr
Lawrenceville, GA 30044

ASA Fire Protection, LLC
1121 Grassdale Rd NW
Cartersville, GA 30121

Security and Fire Engineers, Inc.
123 Holcomb Rd SW
Calhoun, GA 30701

Marsh & McLennan Agency LLC
CT Corporation System
289 S Culver Street
Lawrenceville, GA 30046

Occupational Health Centers of Georgia
CT Corporation System
289 S Culver Street
Lawrenceville, GA 30046

Medalist Commercial Loan, LLC
David McAlister, Arnall Golden Gregory LLP
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171 17th Street NW, Ste 2100
Atlanta, GA 30363
